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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


KONOIKE CONSTRUCTION CO. LIMITED,

Plaintiff,

         v.
                                                       Civil Action No. 17-CV-1986
MINISTRY OF WORKS, TANZANIA, et al.                    Judge Richard J. Leon

Defendants.

                    RETURN OF SERVICE FOR MINISTRY OF WORKS

        I HEREBY CERTIFY that, pursuant to the provisions of 28 U.S.C. § 1608(a)(3), I caused

a copy of the summons, petition to confirm arbitration award, notice of suit, and all attachments

to be served on Ministry of Works, Tanzania, by (i) mailing the aforesaid documents to the said

entity, addressed to Ministry of Works, Tanzania, PO Box 9423, 11475, Dar es Salaam,

Tanzania, which were delivered on October 17, 2017, and (ii) mailing copies of the aforesaid

documents to Ministry of Works, Tanzania, care of the Ministry of Foreign Affairs and East

African Cooperation, Tanzania, PO Box 2933, Dodoma, Tanzania, which were delivered on

October 23, 2017. True and correct copies of the DHL waybills, the tracking receipts, and the

proofs of delivery are attached as Exhibits 1 and 2.

        I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing

information is true and correct. Executed on October 27, 2017.

                                              By:      /s/ Jared R. Butcher

                                                       Jared R. Butcher (DC Bar 986287)
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